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                        EXHIBITB
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 5                               IN THE UNITED STATES DISTRICT COURT

 6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

 7
 8   IN RE: TFT-LCD (FLAT PANEL) ANTITRUST                     No. M 07-1827 SI
     LITIGATION
 9                                                 1           MDL. No. 1827

10            This Order Relates to:                           ORDER RE: PRETRIAL AND TRIAL
                                                               SCHEDULE
11                   ALL CASES
12

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15          The Court h~nferte~h_with_SpcGial--Master·~uintb'BIUI adopts the following pretrial and trial

16   schedule:
17
18
      Event                               Dates Applicable to Class           Dates Applicable to all
19                                        Plaintiffs                          Direct Action Plaintiffs and
                                                                              all State AG Plaintiffs (in
20                                                                            cases on file by 12/1110)1
      First mediation session to be       February 14,2011                    February 14, 2011
21    complete
22    Disclosure of identities of         March 1,2011                        July 1,2011
      plaintiffs' experts and one
23    paragraph description of issues
      to be addressed by each expert
24
25

26
27            1 Direct action and State AG cases filed after December 1,2010, will be subject to a separate
28   pretrial and trial schedule, or, if circumstances permit, will be folded into the schedule set forth in this
     order.
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              1                                                                       August 1,2011
                  Disclosure of identities of all    April 1, 2011
              2   defendants' experts and one
                  paragraph description of issues
                  to be addressed by each expert
              3
                  Plaintiffs and defendants each     May 11,2001                      January 27,2012
              4   to provide one paragraph
                  description of each
              5   issue/subject of summary
                  judgment motions (copies to
              6   be provided to the court)
              7   Close of fact discovery in class   May 11,2011                      September 2, 2011
                  cases, and of limited discovery
              8   unique to DAP and State AG
                  cases
              9
                  Parties to produce all data        May 11,2011                      N/A
             10   provided to experts to conduct
                  analysis
     ·s
      CI:S
             11
                  Service of opening expert          May 25,2011                      September 9,2011
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 o    CI:S   12   reports for plaintiffs
U    U
                                                     May 27,2011                      September 12,2011
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             13
                  Service of underlying data and
                  code
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             14   Parties to serve supplemental
                  disclosure with one p aragraph
                                                     June 17,2011                     March 2,2012
             15   description of any additional
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oot:              issues/topics of summary
             16   judgment motions (copies to
~o
;::Z              be provided to the court)s
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      4)     17
                  Service of opposition expert       July 22, 2011                    November 8, 2011
      ....
     ~
      0      18   reports

             19   Service of underlying data and     July 25,2011                     November 11, 2011
                  code
             20   Service of reply expert reports    August 19, 2011                  January 9,2012
             21   Service of underlying data and     August 19,2011                   January 12,2012
                  code
             22
                  Last day to file dispositive       September 2, 2011                May 18,2012
             23   motions
             24   Close of expert discovery          September 15,2011                February 15,2012

             25   Last day to file oppositions to    September 23, 2011               June 15,2012
                  dispositive motions
             26   Last day to file reply briefs in   October 14,2011                  July 13, 2012
                  support of dispositive motions
             27
             28

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               1
                    Last day for hearing      November 16,2011                August 15,2012
               2    dispositive motions
                    Pretrial conference       January 17,2012                 October 9,2012
               3
                    Trial begins              February 13,2012                November 5, 2012
               4

               5
                          IT IS SO ORDERED,
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               7
                   Dated: November 23,2010
               8                                                         SUSAN ILLSTON
                                                                         United States District Judge
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